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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

Amaplat Mauritius Ltd.,
c/o CKLB International Management Ltd.,
P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius;
and

Amari Nickel Holdings Zimbabwe Ltd.,               Civil Action No.
c/o CKLB International Management Ltd.,
P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius,

                    Plaintiffs,

        v.

Zimbabwe Mining Development Corporation,
90 Mutare Road, Msasa, Harare, Zimbabwe;

The Chief Mining Commissioner, Ministry of
Mines of Zimbabwe,
6th Floor, ZIMRE Centre, Cnr. Leopold
Takawira Street/Kwame Nkrumah Avenue,
Private Bag 7709, Causeway, Harare,
Zimbabwe;

and the Republic of Zimbabwe,
c/o Head of the Ministry of Foreign Affairs,
Ministry of Foreign Affairs, P.O. Box 4240,
Munhumutapa Building, Cnr. Samora Machel
Avenue/Sam Nujoma Street, Harare,
Zimbabwe

                    Defendants.


                                        COMPLAINT

        Plaintiffs Amaplat Mauritius Ltd. (“Amaplat”) and Amari Nickel Holdings Zimbabwe

Ltd. (“Amari,” and together with Amaplat, “Plaintiffs”), by their attorneys, Steptoe & Johnson

LLP, allege upon personal knowledge as to their own acts and upon information and belief as to

all other acts, as follows:
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I.      NATURE OF THE ACTION

        1.       This is an action to recognize and enforce the judgment of the High Court of

Zambia, at the Commercial Registry at Lusaka, dated August 9, 2019, No. 2019/HPC/ARB/No.

0337 (the “Judgment”), in favor of Plaintiffs and against Defendants Zimbabwe Mining

Development Corporation (“ZMDC”) and the Chief Mining Commissioner, Ministry of Mines of

Zimbabwe (collectively, “Judgment Defendants”), pursuant to the Uniform Foreign-Money

Judgments Recognition Act, D.C. Code § 15-361, et seq. The Judgment recognized and

enforced an arbitral award entered in favor of Plaintiffs and against Judgment Defendants, which

are instrumentalities of and alter egos of the Republic of Zimbabwe, under the terms of two

arbitration agreements that provided in each instance for final and binding resolution of disputes

by international commercial arbitration under the ICC International Court of Arbitration Rules

(the “ICC Rules”), in which the ICC International Court of Arbitration set the location of the

arbitration as Zambia.

        2.       The arbitral award concerns Defendants’ breaches of two memoranda of

understanding concerning mining concessions in Zimbabwe (“MOUs”). The arbitral tribunal

found the Defendants breached those MOUs by, inter alia, expropriating the concessions causing

millions of dollars in damages being awarded to the Plaintiffs. The arbitral tribunal found in

favor of the Plaintiffs and ordered the Judgment Defendants to pay approximately $50 million

plus interest.

        3.       Defendants failed to pay the amounts due under the arbitration award and have

similarly failed to satisfy the Judgment that the Zambian court issued based on the award.

Following issuance of the award, Plaintiffs engaged in extensive negotiations with Defendants,

through the Zimbabwean government, in an effort to seek an amicable resolution in their

compliance with the award. Defendants’ representatives in the Zimbabwean government
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repeatedly represented that they would pay the amounts due and recognized the award sum as a

public debt. They even represented that specific assets of the Republic of Zimbabwe would be

set aside to ensure payment of the liability owing to the Plaintiffs. But despite aiming to finalize

these amicable negotiations by the end of 2021, Defendants never made good on their promises.

As such, Plaintiffs now seek to enforce their rights in this Court.

II.     JURISDICTION AND VENUE.

        4.      This Court has subject-matter jurisdiction under 28 U.S.C. § 1330(a) because this

is a “nonjury civil action against a foreign state as defined in section 1603(a) of this title as to

any claim for relief in personam with respect to which the foreign state is not entitled to

immunity either under sections 1605–1607 of this title or under any applicable international

agreement.”

        5.      ZMDC is a foreign state within the meaning of 28 U.S.C. § 1603(a) because it is

an agency or instrumentality of, and an alter ego of, the Republic of Zimbabwe.

        6.      The Chief Mining Commissioner, Ministry of Mines of Zimbabwe, is a foreign

state within the meaning of 28 U.S.C. § 1603(a) because it is an agency or instrumentality of,

and an alter ego of, the Republic of Zimbabwe.

        7.      The Republic of Zimbabwe is a foreign state within the meaning of 28 U.S.C.

§ 1603(a).

        8.      Defendants are not entitled to immunity under the Foreign Sovereign Immunities

Act or any applicable international agreement because the exceptions to foreign sovereign

immunity set forth in 28 U.S.C. §§ 1605(a)(1) and 1605(a)(6) are satisfied.

        9.      As set forth more fully below, the Judgment arises from an arbitration governed

by the New York Convention, which is in force in all countries relevant to this action including



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Zambia, Zimbabwe, and the United States, under arbitration agreements made by the foreign

state with Plaintiffs.

        10.     As set forth more fully below, Defendants waived sovereign immunity by

agreeing to arbitrate under the ICC Rules, and by agreeing to and participating in arbitration

governed by the New York Convention in Zambia, which, like Zimbabwe, is and was a party to

the New York Convention. Zimbabwe thereby contemplated enforcement of any arbitral award

in any of the other signatory states and waived sovereign immunity. It is settled law that an

action to recognize a foreign judgment based upon an arbitral award is within the scope of such a

waiver because the cause of action is so closely related to the enforcement of an arbitral award.

        11.     This Court has personal jurisdiction over the Defendants under 28 U.S.C.

§ 1330(b), because the requirements of 28 U.S.C. § 1330(a) are satisfied and service has or will

be made under 28 U.S.C. § 1608.

        12.     Venue is proper in this Court under 28 U.S.C. § 1391(f)(4), which provides for

venue in this Court for an action “brought against a foreign state or political subdivision thereof.”

III.    THE PARTIES

        13.     Plaintiff Amari Nickel Holdings Zimbabwe Ltd. is a Company incorporated under

the laws of Mauritius.

        14.     Plaintiff Amaplat Mauritius Ltd. is a Company incorporated under the laws of

Mauritius.

        15.     Defendant ZMDC is a corporation incorporated under the laws of the Republic of

Zimbabwe, an agency or instrumentality of the Republic of Zimbabwe, and an alter ego of the

Republic of Zimbabwe. It was created by the Zimbabwe Mining Development Corporation Act,

and by law the Republic of Zimbabwe appoints its Board of Directors, approves significant



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actions, has the power to direct its actions, pays the debts of the Republic of Zimbabwe, and

must be majority-owned by the Republic of Zimbabwe.

       16.     Defendant The Chief Mining Commissioner, Ministry of Mines of Zimbabwe is a

governmental office or a governmental corporation sole existing under the laws of the Republic

of Zimbabwe, an agency or instrumentality of the Republic of Zimbabwe, and an alter ego of the

Republic of Zimbabwe.

       17.     Defendant Republic of Zimbabwe is a foreign state.

IV.    GENERAL ALLEGATIONS

       A.      The Memoranda of Understanding and the Joint Venture.

       18.     As explained in greater detail in the underlying arbitral award, a true and correct

copy of which is attached hereto as Exhibit A, on November 22, 2007, ZMDC and Amari

Holdings Ltd. (“Amari BVI”) entered into a Memorandum of Understanding (the “Nickel

MOU”), a true and correct copy of which is attached hereto as Exhibit B.

       19.     Under the Nickel MOU, Amari BVI and ZMDC agreed to incorporate a joint

venture company called Zimari Nickel (Pvt.) Ltd., to prospect for nickel and develop a mine.

       20.     On June 6, 2008, Amari, Amari BVI, and ZMDC entered into a Deed of

Novation, whereby Amari replaced Amari BVI as the counterparty to the Nickel MOU. A true

and correct copy of the Deed of Novation is attached hereto as Exhibit C.

       21.     Similarly, on July 25, 2008, ZMDC and Amaplat entered into a Memorandum of

Understanding (the “Platinum MOU”), a true and correct copy of which is attached hereto as

Exhibit D.

       22.     Under the Platinum MOU, Amaplat and ZMDC agreed to incorporate a joint

venture company called Zimari Platinum (Pvt.) Ltd., to prospect for metals including platinum

and develop a mine.

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       B.      The Dispute and Arbitration.

       23.     ZMDC purported to cancel the MOUs in November 2010.

       24.     Both the Nickel MOU (Ex. B), at Article 11, and the Platinum MOU (Ex. D), at

Article 9, contained identical arbitration clauses providing that:

               In the event of a dispute or disputes arising, such disputes,
               controversies or differences between the Parties, which may arise
               out of or in relation to the MOU and which cannot be settled by the
               Board, the parties shall first try to resolve it amicably through
               negotiation. In the event that no settlement can be reached through
               negotiation in reasonable time, any Party may submit the dispute to
               the ICC International Court of Arbitration in Paris for arbitration in
               accordance with the procedural rules of arbitration of the said
               Arbitration Court in effect at the time of apply arbitration, the award
               of which shall be final and binding upon the Parties. The language
               in Arbitration shall be in English.

       25.     The Nickel MOU and Platinum MOU thus constituted an agreement to resolve

disputes by “final and binding” commercial arbitration under the ICC Rules.

       26.     Zimbabwe acceded to the New York Arbitration Convention on the Recognition

and Enforcement of Foreign Arbitral Awards of June 10, 1958 (the “New York Convention”) on

September 29, 1994.

       27.     Zambia had acceded to the New York Convention on March 14, 2002.

       28.     The arbitration was constituted under the applicable regime of the ICC Rules

following determination by the ICC Court that the arbitration would occur in Lusaka, Zambia.

       29.     The Judgment Defendants participated actively in the highly contested

proceedings before the arbitral tribunal.

       30.     However, on the third day of the hearing, the arbitrator who had been nominated

by the Judgment Defendants resigned and the Judgment Defendants refused to appoint a

replacement arbitrator.

       31.     After contentious litigation before the Zambian courts and the ICC Court of

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Arbitration over the composition of the panel, a reconstituted panel scheduled a continuation of

the hearing.

       32.      On August 27, 2013, without any explanation, the Judgement Defendants

indicated to the arbitral tribunal that they refused to further participate in the proceedings.

       33.      The arbitral tribunal issued a final award on January 12, 2014, finding that it

continued to have jurisdiction over the dispute despite the Judgment Defendant’s boycott of the

remainder of the hearing. The tribunal found that the Plaintiffs successfully demonstrated their

claims. It ordered US$42,882,000 in damages to Amaplat and US$3,900,000 in damages to

Amari. The tribunal also ordered the Judgment Defendants to pay costs and expenses in the

amount of US$2,220,583.74 and US$900,000 in tribunal costs of the arbitration, and interest.

Ex. A at 36.

       C.       The Zambian Judgment.

       34.      After post-award proceedings in Zambian courts, in which Zimbabwe challenged

the composition of the tribunal and its authority to issue an award, were resolved in Plaintiffs’

favor, on August 9, 2019, the High Court for Zambia at the Commercial Registry at Lusaka

issued the Judgment—formally, an Ex Parte Order for Leave to Register and Enforce the Final

Arbitration Award, No. 2019/HPC/ARB/No. 0337, under Section 18 of the Arbitration Act,

No. 19 of 2000, and Rules 15 and 16 of the Arbitration (Court Proceedings) Rules, 2001. A true

and correct copy of the Judgment is attached hereto as Exhibit E.

       35.      The Judgment directed “that the Plaintiffs be at liberty to enforce in the same

manner as a judgment or order to the same effect the Final Award dated 12th January 2014, of the

Arbitrators: Stuart Isaacs QC, Chairman; Professor Doug Jones AO, as Co-Arbitrator; and

Chikwendu Madumere as Co-Arbitrator appointed pursuant to Clause 11 of the Nickel

Memorandum of Understanding dated 22nd November 2007, and Clause 9 of the Platinum
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Memorandum of Understanding dated 25th July 2007, made between the Plaintiffs and the

Defendants.” Ex. E at 1-2. Plaintiffs served the Judgment on Defendants on 23 October 2019.

Under Zambian law, the Judgment was stayed for 30 days or until the disposition of a timely

proceeding to set aside the Judgment. No party filed a proceeding to set aside the Judgment and

it became final.

       36.      Zambian law provides for a 12 year statute of limitations for an action on a

judgment, which accrues on the date that the judgment becomes enforceable.

       37.      Accordingly, the Judgment is valid and enforceable in Zambia.

       D.       Failed Negotiations between the Parties

       38.      The parties participated in settlement discussions after the issuance of the

Judgment, including two years of negotiations with the Reserve Bank of Zimbabwe, the

Permanent Secretary of the Ministry of Mines & Mining Development, and the Attorney

General.

       39.      On 12 January 2021, the Plaintiffs sent a letter to the Defendants highlighting

their failure to pay the amounts due under the award and Judgment and noting that the arbitral

award is a public debt has been acknowledged as such by the Attorney-General and the Minister

of Mines & Mining Development. A copy of that letter is attached hereto as Exhibit F. The

Defendants failed to make any payment.

       40.      Another letter later that year produced similar results. A copy of that letter is

attached hereto as Exhibit G. Accordingly, Plaintiffs are forced to pursue this action to enforce

the Judgment.




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V.      CLAIM FOR RELIEF

                              COUNT I
 D.C. UNIFORM FOREIGN-COUNTRY MONEY JUDGMENTS RECOGNITION ACT
                      D.C. CODE § 15-361 ET SEQ.

        41.     Plaintiffs repeat and reallege each allegation contained in Paragraphs 1 through 40

above as if fully set forth herein.

        42.     The Judgment is a foreign money judgment under the Uniform Foreign-Country

Money Judgments Recognition Act, D.C. Code § 15-361, et seq.

        43.     By providing “that the Plaintiffs be at liberty to enforce in the same manner as a

judgment or order to the same effect the Final Award dated 12th January 2014,” the Judgment

granted recovery of a sum of money as provided in the Final Award. Ex. E. at 1.

        44.     The High Court for Zambia had jurisdiction over the Judgment Defendants and

the subject-matter.

        45.     The Judgment is final, conclusive, and enforceable under the laws of Zambia.

        46.     The Judgment is not for taxes, fines, penalties, divorce, support, maintenance, or

other domestic relations matters.

        47.     Plaintiffs are accordingly entitled to an order recognizing the Judgment and

entering a judgment of this Court thereon that is conclusive and enforceable in the same manner

and to the same extent as a judgment of this Court.

        48.     Plaintiffs are further entitled to an order recognizing that the Republic of

Zimbabwe is the alter ego of the Judgment Defendants and is liable on the Judgment to the same

extent as the Judgment Defendants.

        49.     Plaintiffs are further entitled to their reasonable attorneys’ fees and costs,

consistent with the Award’s finding that the prevailing party was entitled to recovery of legal

expenses and the law of the Republic of Zimbabwe, which is the chosen law of the parties’

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agreements.

VI.   PRAYER FOR RELIEF

      WHEREFORE Plaintiffs request entry of an order and judgment:

              (a)   Recognizing and enforcing the Judgment;

              (b)   Finding that the Republic of Zimbabwe is the alter ego of the Judgment

                    Defendants;

              (c)   Entering judgment against Defendants as provided by the Award,

                    specifically:

                    (i)     Against ZMDC and the Republic of Zimbabwe and in favor of

                            Amaplat in the amount of US$42,882,000 in damages;

                    (ii)    Against ZMDC and the Republic of Zimbabwe and in favor of

                            Amari in the amount of US$3,900,000 in damages;

                    (iii)   Against all Defendants jointly and severally and in favor of

                            Plaintiffs jointly in the amount of US$2,220,583.74;

                    (iv)    Against all Defendants jointly and severally and in favor of

                            Plaintiffs jointly in the amount of US$900,000;

                    In each case, with post-award interest at 5% per annum from January 12,

                    2014 through the date of entry of the Judgment and post-Judgment interest

                    at the Zambian statutory rate;

              (d)   Awarding post-judgment interest at the Zambian statutory rate;

              (e)   Awarding costs of this action and reasonable attorneys’ fees; and

              (f)   Awarding such other and further relief as this Court may deem just,

                    proper, and equitable.



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Dated: January 10, 2022                  Respectfully submitted,



                                           /s/ Steven K. Davidson
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